[Cite as State v. Jackson, 2024-Ohio-3151.]



                 IN THE COURT OF APPEALS OF OHIO
                           ELEVENTH APPELLATE DISTRICT
                               ASHTABULA COUNTY

STATE OF OHIO,                                   CASE NOS. 2024-A-0022
                                                           2024-A-0023
                 Plaintiff-Appellee,
                                                 Criminal Appeals from the
        - vs -                                   Court of Common Pleas

LORENZO DEANDRE JACKSON,
                                                 Trial Court Nos. 2022 CR 00484
                 Defendant-Appellant.                             2022 CR 00486


                                        MEMORANDUM
                                          OPINION

                                      Decided: August 19, 2024
                                    Judgment: Appeals dismissed


Colleen M. O’Toole, Ashtabula County Prosecutor, 25 West Jefferson Street, Jefferson,
OH 44047 (For Plaintiff-Appellee).

Sean P. Martin, 113 North Chestnut Street, Suite A, Jefferson, OH 44047 (For
Defendant-Appellant).


EUGENE A. LUCCI, P.J.

        {¶1}     On February 21, 2024, appellant, Lorenzo Deandre Jackson, filed notices

of appeal from the trial court’s January 18, 2024 sentencing entries imposed in two

separate cases. Thereafter, this court consolidated the appeals for all purposes. For the

reasons that follow, the appeals are dismissed.

        {¶2}     Pursuant to App.R. 3(A), “An appeal as of right shall be taken by filing a

notice of appeal with the clerk of the trial court within the time allowed by Rule 4.” App.R.

4(A), in turn, provides, “Subject to the provisions of App.R. 4(A)(3), a party who wishes to
appeal from an order that is final upon its entry shall file the notice of appeal required by

App.R. 3 within 30 days of that entry.” App.R. 4(A)(1). The provisions of App.R. 4(A)(3)

pertain to a clerk’s delay in a civil case and are thus inapplicable to the present appeals.

       {¶3}   Pursuant to App.R. 14(A):

              In computing any period of time prescribed or allowed by
              these rules, by the local rules of any court, by an order of court
              or by any applicable statute, the day of the act, event or
              default from which the designated period of time begins to run
              shall not be included. The last day of the period so computed
              shall be included, unless it is a Saturday, Sunday or a legal
              holiday, in which event the period runs until the end of the next
              day which is not a Saturday, Sunday or a legal holiday. When
              the period of time prescribed or allowed is less than seven
              days, intermediate Saturdays, Sundays and legal holidays
              shall be excluded in the computation.

       {¶4}   Calculating the time for noticing the present appeals pursuant to these rules,

30 days from the January 18, 2024 sentencing entries fell on Saturday, February 17,

2024. President’s Day was observed on the following Monday, February 19, 2024.

Therefore, Jackson’s notices of appeal were required to be filed on or before February

20, 2024. His notices of appeal reflect a filing date with the trial court clerk of February

21, 2024, and are thus untimely by one day.

       {¶5}   Pursuant to App.R. 5(A), a defendant may move to file a delayed appeal

subject to the following provisions:

              (1) After the expiration of the thirty day period provided by
              App. R. 4(A) for the filing of a notice of appeal as of right, an
              appeal may be taken by a defendant with leave of the court to
              which the appeal is taken in the following classes of cases:

              (a) Criminal proceedings;

              ...


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Case Nos. 2024-A-0022 and 2024-A-0023
             (2) A motion for leave to appeal shall be filed with the court of
             appeals and shall set forth the reasons for the failure of the
             appellant to perfect an appeal as of right. Concurrently with
             the filing of the motion, the movant shall file with the clerk of
             the trial court a notice of appeal in the form prescribed by App.
             R. 3 and shall file a copy of the notice of the appeal in the
             court of appeals. The movant also shall furnish an additional
             copy of the notice of appeal and a copy of the motion for leave
             to appeal to the clerk of the court of appeals who shall serve
             the notice of appeal and the motions upon the prosecuting
             attorney.

      {¶6}   Here, Jackson has neither complied with the thirty-day rule set forth in

App.R. 4(A)(1) nor sought leave to appeal under App.R. 5(A). Thus, this court is without

jurisdiction to consider his appeal. Jackson is not precluded from hereafter moving for a

delayed appeal under App.R. 5(A).

      {¶7}   Accordingly, the appeals are dismissed, sua sponte, as untimely.



JOHN J. EKLUND, J.,

ROBERT J. PATTON, J.,

concur.




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Case Nos. 2024-A-0022 and 2024-A-0023
